      Case 3:16-md-02741-VC Document 11160-1 Filed 07/06/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS           )     MDL No. 2741
LIABILITY LITIGATION               )
                                  )    ​Master Docket Case No. 16-md-02741-VC
                                  )
This document relates to: ​       )     ​Honorable Vince Chhabria
                                  )
Aubrey R. Aden ​                  )      ​Case No: ​19-cv-1849-VC
                                  )
                                  )
v.                                )
                                  )
Monsanto Company​                 )
****************************************************
                            [PROPOSED] ORDER


1.     Counsel for Plaintiff’s motion is GRANTED.

2.     Elaine T. Aden is hereby substituted in place of Aubrey R. Aden.

3.     Accordingly, the Plaintiff Caption shall be amended as follows:​ “Elaine T. Aden,

individually, and as successor in interest for the estate of Aubrey R. Aden, deceased.”



DATED: _____________

                                                     ____________________________
                                                     Hon. VINCE CHHABRIA
                                                     United States District Court Judge
